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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


AHZAR SAIYED, Individually and as                     )
Administrator of the Estate of                        )
MIKAZNAAZ SAIYED, deceased                            )
and as Father and Next Friend of                      )
HOORAYN SAIYED, a Minor                               )
                                                      )
                Plaintiffs                            ) Case No.: 1:20−cv−05524
                                                      )
                V.                                    ) Judge Dow
                                                      )
 UNITED STATES OF AMERICA,                            )
 SWEDISH COVENANT HOSPITAL,                           )
 SWEDISH COVENANT HEALTH,                             )
 SWEDISH COVENANT MANAGEMENT,                         )
 SERVICES, INC.                                       )
                                                      )
                Defendants.                           )

                                   JOINT STATUS REPORT

        The Parties, by and through their respective attorneys, submit the following status report

pursuant to Dkt. 40 and the Court’s standing order.

   I.        The Nature of the Case

        A.      This is a medical negligence/wrongful death action for injuries incurred by Hoorayn

Saiyed, a minor, and Mikaznaaz Saiyed, deceased. The attorneys for the Plaintiff are Stephen D.

Phillips, Terrence M. Quinn, and Stephen J. Phillips. The attorney for the United States of America

is Valerie Raedy of the United States Attorney’s Office. The attorneys for the three (3) Swedish

Covenant Defendants are Amy Garland and Katherine Kelleher.

        B.      All parties have been served.

        C.      This Court has jurisdiction of the action pursuant to 28 U.S.C.A. §§ 1331, 1346(b)

and 2671, et seq. This Court has jurisdiction over the claims against the Swedish Covenant
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Defendants pursuant to 28 U.S. Code § 1367. Venue is proper in this Court under 28 U.S.C.

§1391(b) because all incidents, events, and occurrences giving rise to this action occurred in the

Northern District of Illinois. Moreover, upon information and belief, all parties resided in this

judicial district or resided in this judicial district at the time these events took place.

          D.     This case involves claims of medical negligence against healthcare professionals in

connection with the labor and delivery of Hoorayn Saiyed, a minor, which resulted both in

permanent injuries to her and the death of her mother, Mikanzaaz Saiyed.

          E.    The defendants dispute liability and the extent of damages claimed in this matter.

          F.     Plaintiff claims all damages cognizable under Illinois law including but not limited

to damages for Mikaznaaz’s Saiyed’s wrongful death and survival action and injuries and damages

sustained by Hoorayn Saiyed. Plaintiff also brings a claim under the Illinois Family Expense Act.



   II.         Settlement

          The parties have not engaged in any settlement discussions. A settlement conference may

be beneficial in the future as the parties conduct discovery.



   III.        Pending Motions and Potential Motions.

          There is currently one pending motion before the Court – The Swedish Covenant

Defendants’ Motion to Stay the Application of 735 ILCS 5/2-1303(C). That motion is fully briefed.

On August 4, 2022, this Court entered an Order denying Defendants’ Partial Motion to Dismiss.

(Dkt. 40).

   IV.         Discovery

          All parties have exchanged their initial disclosures pursuant to Rule 26.



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       Plaintiff has issued his initial written discovery requests to all parties. The Swedish

Covenant Defendants have issued their initial written discovery requests to all parties. The United

States will issue written discovery requests by September 15, 2022.

       The parties have discussed a potential agreed discovery schedule; however, due to the

complexity of the claims in this birth injury/wrongful death medical negligence case and the fact

that the parties do not have all of the relevant medical records, the parties, at this time, are unable

to evaluate the amount of depositions needed in this case which would enable the parties to provide

the court with a realistic discovery schedule. If the court is amenable, the parties propose that

defendants issue medical records subpoenas promptly so all parties can evaluate the medical

records and then the parties can meet and confer on an appropriate schedule after such review.

The parties intend to meet and confer after review of the medical records and are hopeful that they

will be able to propose an agreed discovery schedule to the court. If amenable to the court, the

parties, by agreement, propose to provide the court another joint status report containing a

proposed discovery schedule in sixty days from today’s date.

       If the Parties’ proposal is amenable to the court, the parties propose the following dates:

           •   The defendants will issue medical records subpoenas on or before September 30,
               2022.

           •   The parties will provide the court with a joint status report containing a proposed
               discovery scheduled on November 2, 2022.


       Expert discovery is contemplated by all parties.
   V. Magistrate Judge

           There is not unanimous consent for assignment to a Magistrate Judge for any of the

        proceedings.




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                                          Respectfully Submitted,

                                          /s/ Stephen J. Phillips      _________

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                                          One of the Attorneys for the Plaintiff




                     /s/__Amy Garland___________________
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                     Management Services, Inc.




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                              Respectfully submitted,
                              JOHN R. LAUSCH, Jr.
                              United States Attorney

                              By: s/ ___Valerie Raedy_____________________
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                                 CERTIFICATE OF SERVICE

       I, Stephen J. Phillips, certify that on September 2, 2022, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the CM/ECF participants registered to receive service.



                                      By:             /s/Stephen J. Phillips _______________
                                                      One of the Attorneys for the Plaintiff




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